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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

  LEWIS ROGERS TODD,
                 Plaintiff,                        MDL NO. 2592
  v.
                                                   SECTION: L
  JANSSEN RESEARCH &
  DEVELOPMENT, LLC f/k/a JOHNSON                   JUDGE: ELDON E. FALLON
  AND JOHNSON PHARMACEUTICAL
  RESEARCH AND DEVELOPMENT LLC,                    MAG. JUDGE MICHAEL NORTH
  et al.,
                 Defendants.                       JURY TRIAL DEMANDED

  This Document Relates to:
  No. 2:16-cv-14382

                                 NOTICE OF SUBMISSION

COMES NOW Plaintiff in the above-listed action, by and through their undersigned counsel,

file the following pleadings on Defendant Bayer Healthcare Pharmaceuticals, Inc. as follows:

   1. Plaintiff’s Motion to Deem Prior Service Valid or in the Alternative Extension of

       Time Within Which to Serve Process on Defendant Bayer Healthcare Pharmaceuticals, Inc;

   2. Memorandum in Support of Plaintiff’s Motion;

   3. Proposed Orders Declaring Prior Service Valid; and

   4. Proposed Order Granting Extension of Time.


                                                  Respectfully submitted,

                                                  By: /s/ Alexandra W. Robertson, Esq.
                                                  Alexandra W. Robertson (MN 0395619)
                                                  Johnson Becker, PLLC
                                                  444 Cedar Street, Suite 1800
                                                  St. Paul, MN 55101
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                                                  Email: ARobertson@JohnsonBecker.com

                                                  Counsel for Plaintiff
   Case 2:14-md-02592-EEF-MBN Document 5049-2 Filed 01/16/17 Page 2 of 2




                                   CERTICATE OF SERVICE

I, Alexandra W. Robertson, hereby certify that on January 16, 2017, the foregoing document was

filed with the clerk via CM/ECF. Notice of this filing will be sent by operation of MDL

Centrality, which will send notice of electronic filing in accordance with the procedures

established in MDL 2592 pursuant to Pre-Trial Order No. 17.



Dated: January 17, 2017                   Respectfully submitted,

                                           By: /s/ Alexandra W. Robertson, Esq.
                                           Alexandra W. Robertson (MN 0395619)
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                                          Counsel for Plaintiff
